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AO 2458 (CASDRev. 08/13) Judgment in a Criminal Case


                                        UNITED STATES DISTRICT COUR                                           CLERK. U.S. DIS
                                                                                                           SOUTHERN DISTRI
                                             SOUTHERN DISTRICT OF CALIFORNIA                              BY

              UNITED STATES OF AMERICA                                AMENDED JUDGMENT IN A CRIMINAL CA
                                   V.                                 (For Offenses Committed On or After November I, 1987)
                    LEORA SCHWARZ (4)
                                                                          Case Number:         14CRI075-GPC

                                                                       JOHN LEMON
                                                                       Defendant's Attorney
REGISTRA TION NO.                  47077298
      Correction of Sentence for Clerial Mistake (Fed. R. Crim. P. 36) Edit Title Section 1436( c).
THE DEFENDANT:
121   pleaded guilty to count(s)          1 of the Superseding Infonnation.

D     was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                           Count
Title & Section                         Nature of Offense                                                                 Number(s)
19: 1433, 1436(c), 18:2                 Aiding and Abetting Failure to present entry documents                                  1




     The defendant is sentenced as provided in pages 2 through                   3            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

      The defendant has been found not guilty on count(s)

121   Count(s)    Underlying Indictment                          is          dismissed on the motion of the United States.

       Assessment: $25.00.
121


121 See fine page                       Forfeiture pursuant to order filed                                          , included herein.
       IT IS ORDERED that the defendant shall notity the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notity the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                       April 22. 2015



                                                                       HON. GONZALO P. CURIEL
                                                                       UNITED STATES DISTRICT JUDGE



                                                                                                                         14CRI075-GPC
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    AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

    DEFENDANT:                  LEORA SCHWARZ (4)                                                                            Judgment - Page 2 of 3
    CASE NUMBER:                14CRI075·GPC

                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
I year, unsupervised.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk offuture
         substance abuse. (Check, if applicable.)
D        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
         The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
c        Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
D        seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
         resides, works, is a student, or was convicted ofa qualifYing offense. (Check if applicable.)
D        The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
     of Payments set forth in this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
     with any special conditions imposed.
                                       STANDARD CONDITIONS OF SUPERVISION
    I)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer:
    3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)  the defendant shall support his or her dependents and meet other family responsibilities;
    5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
        reasons:
    6) the defendant shall notifY the probation officer at least ten days prior to any change in residenee or employment;
    7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute. or administer any controlled substance or
        any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8) the defcndant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered:
    9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
        unless granted permission to do so by the probation officer;
    10) the defendant shall permit a probation offieer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
        observed in plain view of the probation officer;
    II) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
    12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
        the court; and
    13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
        personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
        with such notitication requirement.



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 AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:               LEORA SCHWARZ (4)
CASE NUMBER:             14CRI075-GPC

                                                  FINE

The defendant shall pay a fine in the amount of     _$:.-1.."-,0_0_0_,0_0_ _ _ _ _ unto the United States of America.




This sum shall be paid    IZI   immediately.




The Court has determined that the defendant       does not     have the ability to pay interest. It is ordered that:
D The interest requirement is waived




                                                                                                        14CR1075-GPC
